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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                     AT LEXINGTON


 UNITED STATES OF AMERICA,                     )
                                               )       CRIMINAL NO. 5:13-123-KKC
                Plaintiff,                     )
 v.                                            )
                                               )       OPINION AND ORDER
                                               )
 JOHNNY JAMES VERDELLE PAYNE,                  )
                                               )
                Defendant.                     )

                                      ** ** ** ** **

        This matter is before the Court on the motion by defendant Johnny James

 Verdelle Payne to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255

 (DE 434). The magistrate judge has recommended that the Court dismiss the motion at

 time barred (DE 445). Payne has filed objections to the recommendation (DE 448). For

 the following reasons, the Court will dismiss Payne’s motion and overrule his objections.

        Payne pleaded guilty to conspiring to distribute 100 grams or more of heroin. The

 Court sentenced Payne to 120 months by judgment dated April 18, 2014. This was the

 statutory minimum mandatory sentence under 21 U.S.C. § 841(b)(1)(B) because Payne

 had a prior felony drug conviction. (DE 79, § 851 Notice.)

        As the magistrate judge noted, a §2255 motion must be filed within one year from

 the date that certain events occur. Relevant to this motion, a §2255 motion must be filed

 within one year from the latest of 1) the date the judgment becomes final or 2) the date on

 which the right asserted was initially recognized by the Supreme Court “if that right has

 been newly recognized by the Supreme Court and made retroactively applicable to cases

 on collateral review.” 28 U.S.C. § 2255(f).
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        Payne did not appeal the judgment entered against him. Thus, it became final on

 May 2, 2014. Payne did not file this § 2255 motion within one year of that date. In fact,

 he did not file this motion until May 23, 2017, more than three years after the judgment

 became final. Nevertheless, he argued to the magistrate judge that the Supreme Court

 recognized a new right in Mathis v. United States, 136 S. Ct. 2243 (2016) and that his

 one-year period should begin to run from the date of that case. Mathis was decided on

 June 23, 2016.

        The magistrate judge correctly determined, however, that the Supreme Court did

 not announce a new rule of law in Mathis. See Snow v. United States, No. 17-1538, 2017

 WL 9324735, at *1 (6th Cir. Nov. 8, 2017) (citing In re Conzelmann, 872 F.3d 375, 376-

 77 (6th Cir. 2017)).

        The magistrate judge also determined that Payne had put forth no basis for the

 Court to apply the doctrine of equitable tolling. Payne argued to the magistrate judge that

 it was not until September 2016 that he and his family “discern[ed] the disposition” of the

 Michigan state drug conviction that was the basis for his enhanced sentence. (DE 442,

 Response.) He continues to make this argument in his objections, but he does not explain

 what information he or his family discovered about the Michigan drug offense that is

 relevant to his § 2255 motion. Thus, the magistrate judge correctly determined that the

 doctrine of equitable tolling is not applicable to Payne’s motion.

        Finally, the Court notes that Mathis deals with sentences under the Armed Career

 Criminal Act, 18 U.S.C. § 924(e). Payne was not sentenced under the ACCA. Thus,

 Mathis has no bearing on his conviction or sentence. Payne was sentenced to the 10-year

 mandatory minimum under 21 U.S.C. § 841(b)(1)(B) because he had a prior felony drug



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 conviction. See 21 U.S.C. §802(44). Thus, even if Payne’s §2255 motion were deemed to

 be timely, it would have to be denied.

        For all these reasons, the Court hereby ORDERS as follows:

        1) The magistrate judge’s recommended disposition (DE 445) is ADOPTED as

            the Court’s opinion;

        2) Payne’s objections to the recommended disposition (DE 448) are

            OVERRULED; and

        3) Payne’s motion to vacate, set aside or correct his sentence (DE 434) under 28

            U.S.C. § 2255 is DENIED.

                Dated July 25, 2018.




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